Case 1:23-cv-20506-RNS Document 8 Entered on FLSD Docket 05/08/2023 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA


 CALVIN AYRE,                                                  CASE NO.:1:23-cv-20506-RNS

                       Plaintiff,
 vs.

 PIONEER TABLE INC. and DOES 1-9,

                   Defendants.
 ________________________________________/

                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff voluntarily dismisses this action without

 prejudice.

                                               Respectfully submitted,

                                                      /s/ Samuel A. Lewis
                                               By:_____________________________________
                                                   Samuel A. Lewis / Fla. Bar No. 55360
                                                   Email: slewis@cozen.com
                                                   COZEN O’CONNOR
                                                   Southeast Financial Center, 30th Floor
                                                   200 South Biscayne Blvd.
                                                   Miami, Florida 33131
                                                   Tel: 305-397-0799

                                                       and

                                                    John W. Black / Fla. Bar No. 58231
                                                    Email: john@blackandbuffone.com
                                                    BLACK & BUFFONE
                                                    1400 Eye Street NW, Suite 200
                                                    Washington, DC 20005
                                                    Tel: 202-670-0403

                                                    Counsel for Plaintiff
